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                   EXHIBIT 1
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      1:23cv12127, Schwarz Et Al V. Progress Software Corporation Et Al
                                              US District Court Docket
                                    United States District Court, Massachusetts
                                                       (Boston)
                                      This case was retrieved on 09/18/2023

Header


Case Number: 1:23cv12127                                                                         Class Code: Open
Date Filed: 09/18/2023                                                                              Statute: 28:1332
Nature of Suit: Personal Property (380)                                                       Jury Demand: Plaintiff
Cause: Diversity-Property Damage                                                               Demand Amount: $0
Lead Docket: None                                                                 NOS Description: Personal Property
Other Docket: 1:23cv11370, 1:23cv11412, 1:23cv11442,
1:23cv11782, 1:23cv11864, 1:23cv11939, 1:23cv11984,
1:23cv12010
Jurisdiction: Diversity




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Progress Software Corporation
Defendant
Pension Benefit Information LLC d/b/a PBI Research
Services
Defendant


Proceedings
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 #         Date                Proceeding Text                                                     Source
 1         09/18/2023          COMPLAINT against Progress Software Corporation, Pension
                               Benefit Information LLC d/b/a PBI Research Services Filing fee: $
                               402, receipt number AMADC-10041698 (Fee Status: Filing Fee
                               paid), filed by Camille Burgan, Eugene Burgan, Megan Schwarz.
                               (Attachments: # 1 Civil Cover Sheet, # 2 Category Form)(Haber,
                               Edward) (Entered: 09/18/2023)

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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


 MEGAN SCHWARZ, CAMILLE BURGAN,                          Case No.
 AND EUGENE BURGAN, individually and
 on behalf of all others similarly situated,

                       Plaintiffs,

 v.

 PROGRESS SOFTWARE CORPORATION                           CLASS ACTION COMPLAINT
 and PENSION BENEFIT INFORMATION,
 LLC d/b/a PBI RESEARCH SERVICES,
                                                         Jury Trial Demanded
                      Defendants.


            Plaintiffs Megan Schwarz, Camille Burgan, and Eugene Burgan (together, “Plaintiffs”),

individually and on behalf of all others similarly situated, by and through their undersigned

counsel, bring this class action complaint against Progress Software Corporation (“PSC”) and

Pension Benefit Information, LLC d/b/a PBI Research Services (“PBI”) (collectively,

“Defendants”). Plaintiffs allege the following upon information and belief based on the

investigation of counsel, except as to those allegations that specifically pertain to Plaintiffs,

which are alleged upon personal knowledge.

                                           INTRODUCTION

       1.          Plaintiffs bring this class action lawsuit on behalf of all persons who entrusted

      Defendants with sensitive personal information that was exposed in a data breach when,

      between May 29, 2023 and May 30, 2023, an unauthorized third party accessed PBI’s

      internal MOVEit Transfer servers which contained individuals’ sensitive personally

      identifying information (“PII”) (the “Data Breach” or the “Breach”).

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     2.        PSC is a software company that offers software products and services to corporate

    and governmental entities, including cloud hosting and secure file transfer services such as

    MOVEit.

     3.        PBI processes information about employees or individuals for insurers engaged

    by employers, or for companies acting on such insurers’ behalf, in connection with certain

    employee benefit programs. PBI uses PSC’s MOVEit file transfer services.

     4.        Plaintiffs’ claims arise from Defendants’ failure to safeguard Plaintiffs’ and Class

    members’ PII. Plaintiffs’ and Class members’ PII was compromised due to Defendants’

    negligent and/or careless acts and the failure to protect their PII.

     5.        Employees provide the PII of their past and current employees and customers to

    PBI in connection with the services offered by PBI to its clients.

     6.        In carrying out its services, PBI utilizes MOVEit, the file sharing application

    created and operated by PSC, to securely transmit files containing sensitive consumer

    information. On or about May 31, 2023, PBI received a notification from PSC that an

    unauthorized external party had exploited a vulnerability within the MOVEit software. PBI

    then initiated an inquiry and determined that the unauthorized party had gained entry to one

    of PBI’s MOVEit Transfer servers on May 29, 2023 and May 30, 2023. During this time, the

    unauthorized party acquired data containing sensitive PII held by PBI.

     7.        The hackers responsible for the Data Breach were subsequently identified as the

    Russian cyber gang, Clop.1




1
 Onur Demirkol, US Government Under Siege: MOVEit Breach Exposes Critical Data to
Ruthless Clop Ransomware Attack, DATA CONOMY (June 19, 2023), available at
https://dataconomy.com/2023/06/19/moveit-breach-data-clop-ransomware/ (last visited
September 11, 2023).
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     8.          Plaintiffs and members of the Class furnished sensitive and private PII directly or

    indirectly to PBI including their names, Social Security numbers, and birthdates

     9.          Defendants failed to properly secure and safeguard Plaintiffs’ and the Class’s PII

    that was stored within the MOVEit servers.

     10.         Despite purporting to act as a safe container for sensitive information, Defendants

    failed to take precautions designed to keep that information secure.

     11.         The data that PBI exposed was highly sensitive, including names, dates of birth,

    and Social Security numbers. The compromised data also allows individuals to infer that

    consumers were employed in certain sectors or use certain services offered by PBI.

     12.         The Data Breach affecting PSC’s MOVEit file transfer tool impacted more than

    15 million consumers in the United States.2

     13.         The sensitive nature of the data exposed through the Data Breach, including

    Social Security numbers, substantiates that Plaintiffs and Class members have suffered

    irreparable harm. Plaintiffs and Class members have lost the ability to control their private

    information and are subject to an increased risk of identity theft.

     14.         Defendants owed and owe a duty to Plaintiffs and Class members to maintain

    adequate security measures to safeguard the PII with which they were entrusted with.

    Defendants breached their duty by failing to implement and/or maintain adequate security

    practices.

     15.         PBI delayed acknowledging and giving notice of the Data Breach. PBI did not

    notify its customers of the Data Breach until mid-July 2023 (the “Notice Letter”). See e.g.,



2
  See Carly Page, Millions affected by MOVEit mass-hacks as list of casualties continues to
grow, TECHCRUNCH https://techcrunch.com/2023/06/29/millions-affected-moveit-mass-hacks/
(last visited September 11, 2023).
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Plaintiff Schwarz’s Notice Letter, attached hereto as Exhibit A Notice Letter. PBI waited

despite knowing that hackers accessed its account holders and customers information, and

that sensitive PII was compromised.

 16.       As a result of PBI’s inadequate digital security and notice process, Plaintiffs’ and

Class members’ PII was exposed to criminals. Plaintiffs and the Class have suffered and will

continue to suffer injuries including: financial losses caused by misuse of PII; the loss or

diminished value of their PII as a result of the Data Breach; lost time associated with

detecting and preventing identity theft; and theft of personal, medical, and financial

information.

 17.       Plaintiffs brings this action individually and on behalf of a Nationwide Class of

similarly situated individuals against Defendants for: negligence; negligence per se; breach

of implied contract; and unjust enrichment.

                               JURISDICTION AND VENUE

 18.       This Court has jurisdiction over this action under the Class Action Fairness Act,

28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of interest

and costs. At least one member of the Class defined below is a citizen of a different state than

Defendants, and there are more than 100 putative Class members.

 19.       This Court has personal jurisdiction over Defendants because they both conduct

substantial business in this jurisdiction. Further, this Court has general jurisdiction over

Defendant PSC because its corporate headquarters is located in this District.

 20.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because a

substantial part of the events giving rise to this action occurred in this District, Defendant

PSC is based in this District, Defendant PSC interacted with Defendant PBI in this District,



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Defendant PSC designed, marketed, sold, and maintained the MOVEit transfer application in

this District, and the harm caused to Plaintiffs and Class Members emanated from this

District.

                                           PARTIES

  21.       Plaintiff Megan Schwarz is a citizen of the state of New York. Plaintiff Schwarz

received the Notice Letter dated July 14, 2023, notifying her that her information was part of

the Data Breach. Plaintiff Schwarz has and will spend considerable time and effort

monitoring her accounts to protect herself from identity theft. Plaintiff Schwarz fears for her

personal financial security and uncertainty over what PII was exposed in the Data Breach.

  22.       Plaintiff Camille Burgan is a citizen of the state of California. Plaintiff Camille

Burgan received the Notice Letter dated July 21, 2023, notifying her that her information was

part of the Data Breach. Plaintiff Camille Burgan has and will spend considerable time and

effort monitoring her accounts to protect herself from identity theft. Plaintiff Camille Burgan

fears for her personal financial security and uncertainty over what PII was exposed in the

Data Breach.

  23.       Plaintiff Eugene Burgan is a citizen of the state of California. Plaintiff Eugene

Burgan received the Notice Letter dated July 21, 2023, notifying him that his information

was part of the Data Breach. Plaintiff Eugene Burgan has and will spend considerable time

and effort monitoring his accounts to protect himself from identity theft. Plaintiff Eugene

Burgan fears for his personal financial security and uncertainty over what PII was exposed in

the Data Breach.




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     24.       Defendant Progress Software Corporation is a corporation organized under the

    laws of the State of Delaware with its principal place of business located at 15 Wayside

    Road, Suite 4, Burlington, Massachusetts 01803.

     25.       Defendant Pension Benefit Information, LLC is a Delaware limited liability

    corporation with its principal place of business located at 333 S. 7th Street, Suite 2400,

    Minneapolis, Minnesota 55402.

                                    FACTUAL BACKGROUND

           The Data Breach

     26.       On or about May 31, 2023, PSC, the creator of the MOVEit software, Progress

    Software, announced on its Progress Community website that it was subject to a Data

    Breach3 which compromised highly sensitive personal information of those that utilize the

    MOVEit software including names, dates of birth, and Social Security numbers.

     27.       PBI employs the MOVEit software, which is supplied by PSC. MOVEit’s

    intended use is to safely move files as part of their routine operations. Within this process,

    PBI uploads, retains, shifts, or retrieves PII owned or held by various companies on whose

    behalf it provides its various services. This data is shared with PBI and managed using the

    MOVEit software.

     28.       On or about May 31, 2023, PSC informed PBI of a vulnerability in the MOVEit

    software that was exploited by an unauthorized third party.




3
  MOVEit Transfer Critical Vulnerability (May 2023) (CVE-2023-34362), Progress Community,
https://community.progress.com/s/article/MOVEit-Transfer-Critical-Vulnerability-31May2023
(last accessed September 12, 2023).
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     29.        PBI reportedly performed an internal investigation into the scope of the

    vulnerability in MOVEit’s software and the impact on its systems.4 PBI’s investigation

    revealed that the third party accessed one of its MOVEit servers between May 29, 2023 and

    May 30, 2023 and subsequently downloaded data from its servers.5 On June 16, 2023, PBI

    completed a manual review of its records, and confirmed the identities of individuals affected

    by the Data Breach.

     30.        Individuals impacted by the Data Breach are, and remain, at risk that their data

    will be sold or listed on the dark web and, ultimately, illegally used in the future.

     31.        Plaintiffs and Class members are or were PBI customers or account holders that

    entrusted PBI with their PII.

           PBI’s Obligation and Responsibility to Protect Plaintiffs and Class members’ PII

     32.        PBI provides audit and address research services for insurance companies,

    pension funds, and other organizations.6

     33.        PBI’s Privacy Policy highlights its protection of PII, stating that:

            PBI recognizes the importance of protecting personal information. We use a variety
            of administrative, physical and technical security measures intended to safeguard
            your personal information.7

     34.        PBI further notes the “PBI Advantages” on its website, stating that consumers

    should have “Confidence Your Data is Secure,” explaining that:




4
  See Exhibit A.
5
  Id.
6
  See About PBI Research Services, PBI https://www.pbinfo.com/who-we-are/ (last visited
September 11, 2023).
7
  See Privacy Policy, PBI https://www.pbinfo.com/privacy-policy/ (last visited September 11,
2023).


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            Protecting and securing your information is our highest priority. Our formalized
            security program follows industry-recognized security frameworks and undergoes an
            annual SSAE 18 SOC 2, Type II audit.8

     35.        As a pension management business that handles consumers’ personal information,

    PBI is legally required to protect personal information from unauthorized disclosure.

           PBI’s Failure to Prevent, Identify and Timely Report the Data Breach

     36.        PBI failed to take adequate measures to protect its computer systems and internal

    network against unauthorized access.

     37.        PBI also failed to properly select its information security partners that it relied

    upon to keep the personal information it held safe and secure.

     38.        PBI was not only aware of the importance of protecting the PII that it maintains,

    but it also touted its capability to do so. The PII that was exposed in the Data Breach is the

    type of private information that PBI knew or should have known would be the target of

    cyberattacks.

     39.        Despite its own knowledge and supposed expertise on the subject of

    cybersecurity, and notwithstanding the FTC’s data security principles and practices,9 PBI

    failed to disclose that its systems and security practices were inadequate to reasonably

    safeguard sensitive personal information.

     40.        The FTC directs businesses to use an intrusion detection system to expose a

    breach as soon as it occurs, monitor activity for attempted hacks, and have an immediate




8
  See About PBI Research Services, PBI https://www.pbinfo.com/who-we-are/ (last visited
September 11, 2023).
9
  Protecting Personal Information: A Guide for Business, FEDERAL TRADE COMMISSION
(Oct. 2016), https://www.ftc.gov/business-guidance/resources/protecting-personal-information-
guide-business (last visited September 11, 2023).


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     response plan if a breach occurs.10 Immediate notification of a Data Breach is critical so that

     those impacted can take measures to protect themselves. Despite this guidance, PBI delayed

     the notification of the Data Breach.

             The Current and Future Harms Caused by the Data Breach

       41.       Victims of data breaches are susceptible to becoming victims of identity theft.
       42.       Plaintiffs and Class Members face a lifetime of constant surveillance of their

     financial and personal records, monitoring, and loss of rights. Plaintiffs and the Class are

     incurring and will continue to incur such damage in addition to any fraudulent use of their

     PII.

       43.       The FTC defines identity theft as “a fraud committed or attempted using the

     identifying information of another person without authority,” 17 C.F.R. § 248.201(9), and

     when “identity thieves have your personal information, they can drain your bank account, run

     up charges on your credit cards, open new utility accounts, or get medical treatment on your

     health insurance.

       44.       PII is very valuable to criminals, as evidenced by the prices they will pay for it on

     the dark web. Numerous sources cite dark web pricing for stolen identity credentials. For

     example, personal information is sold at prices ranging from $40 to $200, and bank details

     have a price range of $50 to $200.11

       45.       Experian reports that a stolen credit or debit card number can sell for $5 to $110

     on the dark web.12



10
   Id.
11
   Your Personal Data Is for Sale on the Dark Web. Here’s How Much It Costs, DIGITAL TRENDS
(Oct. 16, 2019), https://www.digitaltrends.com/computing/personal-data-sold-on- the-dark-web-
how-much-it-costs.
12
   Here’s How Much Your Personal Information Is Selling for on the Dark Web, EXPERIAN (Dec.
6, 2017), https://www.experian.com/blogs/ask-experian/heres-how-much-your- personal-
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     46.       Social Security numbers are among the most sensitive kind of personal

   information and, when stolen, may be put to a variety of fraudulent uses. The Social Security

   Administration stresses that the loss of an individual’s Social Security number, as occurred in

   the Data Breach here, can lead to identity theft and extensive financial fraud:

            A dishonest person who has your Social Security number can use it to get other
            personal information about you. Identity thieves can use your number and your good
            credit to apply for more credit in your name. Then, they use the credit cards and don’t
            pay the bills, it damages your credit. You may not find out that someone is using your
            number until you’re turned down for credit, or you begin to get calls from unknown
            creditors demanding payment for items you never bought. Someone illegally using
            your Social Security number and assuming your identity can cause a lot of
            problems.13

     47.       Additionally, changing or canceling a stolen Social Security number is no easy

   task. An individual cannot obtain a new Social Security number without significant

   paperwork and evidence of misuse. An individual cannot prevent potential misuse of a Social

   Security number by simply changing their number. Instead, the individual must show

   evidence of actual, ongoing fraud to obtain a new Social Security number.

     48.       Even then, obtaining a new Social Security number may not work. According to

   the Identity Theft Resource Center, “The credit bureaus and banks are able to link the new

   number very quickly to the old number, so all of that old bad information is quickly inherited

   into the new Social Security number.”14

     49.       Thus, consumers place a high value on the privacy of that data, as they should.

   Researchers shed light on how much consumers value their data privacy—and the amount is



information-is-selling-for-on-the-dark-web/.
13
   Identity Theft and Your Social Security Number, SOCIAL SECURITY ADMINISTRATION,
https://www.ssa.gov/pubs/EN-05-10064.pdf.
14
   Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR (Feb. 9, 2015.),
http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s- hackers-has-millions-
worrying-about-identity-theft.
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     considerable. Indeed, studies confirm that “when privacy information is made more salient

     and accessible, some consumers are willing to pay a premium to purchase from privacy

     protective websites.”15

      50.       The information compromised in the Data Breach is significantly more valuable

     than the loss of, for example, payment card information in a retailer data breach because, in

     that situation, victims can cancel or close payment card accounts. The information

     compromised in this Data Breach is impossible to “close” and difficult, if not impossible, to

     change—name, birthdate, and Social Security number.

      51.       This data commands a much higher price on the black market. “Compared to

     credit card information, personally identifiable information and Social Security numbers are

     worth more than 10x on the black market.”16

      52.       All-inclusive health insurance dossiers containing sensitive health insurance

     information, names, addresses, telephone numbers, email addresses, SSNs, and bank account

     information, complete with account and routing numbers, can fetch up to $1,200 to $1,300

     each on the black market.17 According to a report released by the Federal Bureau of

     Investigation’s (“FBI”) Cyber Division, criminals can sell healthcare records for 50 times the

     price of a stolen Social Security or credit card number.18



15
   Janice Y. Tsai et al., The Effect of Online Privacy Information on Purchasing Behavior, An
Experimental Study, 22(2) INFO. SYS. RSCH. 254 (June 2011)
https://www.jstor.org/stable/23015560?seq=1.
16
   Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card Numbers, IT
WORLD (Feb. 6, 2015), https://www.networkworld.com/article/2880366/anthem-hack-personal-
data-stolen-sells-for-10x- price-of-stolen-credit-card-numbers.html.
17
   See SC Staff, Health Insurance Credentials Fetch High Prices in the Online Black Market, SC
MAG (July 16, 2013), https://www.scmagazine.com/news/breach/health-insurance-
credentialsfetch- high-prices-in-the-online-black-market.
18
   See Federal Bureau of Investigation, Health Care Systems and Medical Devices at Risk for
Increased Cyber Intrusions for Financial Gain (Apr. 8, 2014), https://www.illuminweb.com/wp-
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     53.       Identity thieves may use stolen data to commit bank fraud, credit card fraud,

   employer or tax-related fraud, government documents or benefits fraud, loan or lease fraud,

   phone or utilities fraud, among other forms of fraud.19

     54.       Criminals can use stolen PII to extort a financial payment by “leveraging details

   specific to a disease or terminal illness.”20 Quoting Carbon Black’s Chief Cybersecurity

   Officer, one recent article explained: “Traditional criminals understand the power of coercion

   and extortion…By having healthcare information—specifically, regarding a sexually

   transmitted disease or terminal illness—that information can be used to extort or coerce

   someone to do what you want them to do.”21

     55.       Cybercriminals took the PII of Plaintiffs and Class Members to engage in identity

   theft and/or to sell it to other criminals who will purchase the PII for that purpose. The

   fraudulent activities resulting from the Data Breach may not come to light for years.

     56.       Theft of PII is serious. The Federal Trade Commission (“FTC”) warns consumers

   that identity thieves use PII to exhaust financial accounts, receive medical treatment, start

   new utility accounts, and incur charges and credit in a person’s name.22




content/uploads/ill-mo-uploads/103/2418/health-systemscyber- intrusions.pdf.
19
   FTC Consumer Sentinel Network, Compare Identity Theft Report Types,
https://public.tableau.com/app/profile/federal.trade.commission/viz/IdentityTheftReports/TheftT
ypesOverTime, (Last visited July 9, 2023).
20
   See Andrew Steager, What Happens to Stolen Healthcare Data, HEALTHTECH MAGAZINE
(Oct. 20, 2019), https://healthtechmagazine.net/article/2019/10/what-happens-stolen-
healthcaredata- perfcon (“What Happens to Stolen Healthcare Data”) (quoting Tom Kellermann,
Chief Cybersecurity Officer, Carbon Black, stating “Health information is a treasure trove for
criminals.”).
21
   Id.
22
   See Federal Trade Commission, What to Know About Identity Theft, FED. TRADE COMM’N
CONSUMER INFO.
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       57.         While some identity theft victims can resolve their problems quickly, others spend

     hundreds of dollars and many days repairing damage to their good name and credit record.

     Some consumers victimized by identity theft may lose job opportunities or be denied loans

     for education, housing, or cars because of negative information on their credit reports. In rare

     cases, they may even be arrested for crimes they did not commit.

       58.         Identity theft, which costs Americans billions of dollars annually, occurs when an

     individual’s PII is used without consent to commit fraud or other crimes. Victims of identity

     theft typically lose hundreds of hours dealing with the crime and hundreds, if not thousands,

     of dollars.

       59.         According to Javelin Strategy & Research, in 2018 alone, identity theft affected

     over 16.7 million individuals, causing a loss of over $16.8 billion.

       60.         Recent FTC data reveals that identify theft remains the top category of fraud

     reports received by the agency.23 The FTC received over 1,100,000 reports of identity theft in

     2022, and over 280,000 for the first quarter of 2023 alone.24

       61.         Identity thieves use personal information for various crimes, including credit card

     fraud, phone or utilities fraud, and bank/finance fraud.25 According to Experian, one of the

     largest credit reporting companies in the world, “[t]he research shows that personal



23
   FTC Consumer Sentinel Network, Federal Trade Commission,
https://public.tableau.com/app/profile/federal.trade.commission/viz/FraudandIDTheftMaps/AllR
eportsbyState, (Last visited July 9, 2023).
24
   Id.
25
   The FTC defines identity theft as “a fraud committed or attempted using the identifying
information of another person without authority.” 12 C.F.R. § 1022.3(h). The FTC describes
“identifying information” as “any name or number that may be used, alone or in conjunction
with any other information, to identify a specific person,” including, among other things,
“[n]ame, social security number, date of birth, official State or government issued driver's license
or identification number, alien registration number, government passport number, employer or
taxpayer identification number.” 12 C.F.R. § 1022.3(g).
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     information is valuable to identity thieves, and if they can get access to it, they will use it” to,

     among other things: open a new credit card or loan; change a billing address so the victim no

     longer receives bills; open new utilities; obtain a mobile phone; open a bank account and

     write bad checks; use a debit card number to withdraw funds; obtain a new driver’s license or

     ID; or use the victim’s information in the event of arrest or court action.26

       62.       With access to an individual’s PII, criminals can do more than just empty a

     victim’s bank account. They can also commit all manner of fraud, including (i) obtaining a

     driver’s license or official identification card in the victim’s name but with the thief’s picture;

     (ii) using the victim’s name and SSN to obtain government benefits; or (iii) filing a

     fraudulent tax return using the victim’s information. In addition, identity thieves may even

     give the victim’s personal information to police during an arrest.27

       63.       Consumers place a high value not only on their personal information but also on

     the privacy of that data. They do so because identity theft causes “significant negative

     financial impact on victims” in addition to severe distress and other strong emotional and

     physical reactions.

       64.       The United States Government Accountability Office (“GAO”) explains that

     “[t]he term ‘identity theft’ is broad and encompasses many types of criminal activities,

     including fraud on existing accounts—such as unauthorized use of a stolen credit card

     number—or fraudulent creation of new accounts—such as using stolen data to open a credit



26
   See Susan Henson, What Can Identity Thieves Do with Your Personal Information and How
Can You Protect Yourself, EXPERIAN, https://www.experian.com/blogs/ask-experian/what-
canidentity- thieves-do-with-your-personal-information-and-how-can-you-protect-yourself/ (last
accessed Mar. 21, 2022).
27
   See Federal Trade Commission, Warning Signs of Identity Theft, IDENTITYTHEFT.GOV
https://www.identitytheft.gov/Warning-Signs-of-Identity-Theft (last accessed Mar. 21, 2023);
See Identity Theft Resource Center, 2021 Consumer Aftermath Report, IDENTITY THEFT RES.
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     card account in someone else’s name.”28 The GAO Report notes that victims of identity theft

     will face “substantial costs and time to repair the damage to their good name and credit

     record.”29

      65.         Further, as noted, there is the likelihood of a lapse in time between when the harm

     occurs to a victim of identity theft and when that harm is discovered, as well as a lapse

     between when the PII is stolen and when it is actually used. According to the GAO, which

     conducted a study regarding the growing number of data breaches:

             [L]aw enforcement officials told us that in some cases, stolen data may be held for up
             to a year or more before being used to commit identity theft. Further, once stolen data
             have been sold or posted on the Web, fraudulent use of that information may continue
             for years. As a result, studies that attempt to measure the harm resulting from data
             breaches cannot necessarily rule out all future harm.30

      66.         A compromised or stolen Social Security number cannot be addressed as simply

     as, perhaps, a stolen credit card. An individual cannot obtain a new Social Security number

     without significant work. Preventive action to defend against the possibility of misuse of a

     Social Security number is not permitted; rather, an individual must show evidence of actual,

     ongoing fraud activity to obtain a new number. Even then, however, obtaining a new Social

     Security number may not suffice. According to Julie Ferguson of the Identity Theft Resource

     Center, “The credit bureaus and banks are able to link the new number very quickly to the

     old number, so all of that old bad information is quickly inherited into the new Social

     Security number.”31



28
   See Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
However, the Full Extent Is Unknown, U.S. Government Accountability Office Report to
Congressional Requesters (“GAO Report”) at 2 (June 2007),
https://www.gao.gov/new.items/d07737.pdf, (Last visited July 10, 2023).
29
   Id.
30
   See GAO Report, at p.29.
31
   Id.
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      67.         The PII compromised in the Data Breach demands a much higher price on the

     black market. Martin Walter, senior director at cybersecurity firm RedSeal, explained:

     “Compared to credit card information, personally identifiable information and Social

     Security numbers are worth more than 10 times on the black market.”32

      68.         According to the FBI’s Internet Crime Complaint Center (IC3) 2019 Internet

     Crime Report, Internet-enabled crimes reached their highest number of complaints and dollar

     losses in 2019, resulting in more than $3.5 billion in losses to individuals and business

     victims.33

      69.         Further, according to the same report, “rapid reporting can help law enforcement

     stop fraudulent transactions before a victim loses the money for good.”34 Defendants did not

     rapidly or timely report to Plaintiffs and Class members that their PII had been stolen.

      70.         PBI offered victims twelve months of complimentary credit monitoring and

     identity restoration services through Kroll. The service offered by PBI is inadequate. Identity

     thieves often hold onto personal information in order to commit fraud years after such free

     programs expire.

      71.         As a result of the Data Breach, Plaintiffs and Class members’ PII has been

     exposed to criminals for misuse. The injuries suffered by Plaintiffs and Class members, or

     likely to be suffered thereby as a direct result of Defendants’ Data Breach, include:

               a. unauthorized use of their PII;


32
   Experts advise compliance not same as security, RELIAS MEDIA (Mar. 1, 2015)
https://www.reliasmedia.com/articles/134827-experts-advise-compliance-not-same-as-security
(Last visited September 11, 2023).
33
   2019 Internet Crime Report Released, FBI, https://www.fbi.gov/news/stories/2019-internet-
crime-report-released-
021120#:~:text=IC3%20received%20467%2C361%20complaints%20in,%2Ddelivery%20scams
%2C%20and%20extortion. (Last visited September 11, 2023).
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   Id.
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          b. theft of their personal and financial information;
          c. costs associated with the detection and prevention of identity theft and
             unauthorized use of their financial accounts;
          d. damages arising from the inability to use their PII;
          e. Improper disclosure of their PII;
          f. loss of privacy, and embarrassment;
          g. trespass and damage their personal property, including PII;
          h. the imminent and certainly impending risk of having their confidential medical
             information used against them by spam callers and/or hackers targeting them
             with phishing schemes to defraud them;
          i. costs associated with time spent and the loss of productivity or the enjoyment of
             one’s life from taking time to address and attempt to ameliorate, mitigate, and
             deal with the actual and future consequences of the Data Breach, including
             finding fraudulent charges, purchasing credit monitoring and identity theft
             protection services, and the stress, nuisance, and annoyance of dealing with all
             issues resulting from the Data Breach;
          j. the imminent and certainly impending injury flowing from potential fraud and
             identify theft posed by their PII being placed in the hands of criminals and
             already misused via the sale of Plaintiffs’ and Class members’ information on
             the Internet black market; and
          k. damages to and diminution in value of their PII entrusted to Defendants.

 72.       In addition to a remedy for economic harm, Plaintiffs and Class members

maintain an interest in ensuring that their PII is secure, remains secure, and is not subject to

further misappropriation and theft.

 73.       Defendants disregarded the rights of Plaintiffs and Class members by (i)

intentionally, willfully, recklessly, or negligently failing to take adequate and reasonable

measures to ensure that their network servers were protected against unauthorized intrusions;

(ii) failing to disclose that Defendants did not have adequately robust security protocols and



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training practices in place to adequately safeguard Plaintiffs’ and Class members’ PII; (iii)

failing to take standard and reasonably available steps to prevent the Data Breach; and (iv)

failing to provide Plaintiffs and Class members prompt notice of the Data Breach.

 74.        The actual and adverse effects to Plaintiffs and Class members, including the

imminent, immediate and continuing increased risk of harm for identity theft, identity fraud

and/or medical fraud directly and/or proximately caused by Defendants’ wrongful actions

and/or inaction and the resulting Data Breach require Plaintiffs and Class members to take

affirmative acts to recover their peace of mind and personal security including, without

limitation, purchasing credit reporting services, purchasing credit monitoring and/or internet

monitoring services, frequently obtaining, purchasing and reviewing credit reports, bank

statements, and other similar information, instituting and/or removing credit freezes and/or

closing or modifying financial accounts, for which there is a financial and temporal cost.

Plaintiffs and other Class members have suffered, and will continue to suffer, such damages

for the foreseeable future.

                              CLASS ACTION ALLEGATIONS

 75.        Plaintiffs brings this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure, individually and on behalf of the following Nationwide Class:

       All persons in the United States whose PII was accessed, acquired, or compromised
       during the Data Breach as a result of the exploitation of PSC’s MOVEit Application
       vulnerability (the “Class”).

 76.        Specifically excluded from the Class are Defendants, their officers, directors,

agents, trustees, parents, children, corporations, trusts, representatives, employees, principals,

servants, partners, joint venturers, or entities controlled by Defendants, and their heirs,

successors, assigns, or other persons or entities related to or affiliated with Defendants and/or



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their officers and/or directors, the judge assigned to this action, and any member of the

judge’s immediate family.

 77.       Plaintiffs reserve the right to amend the Class definitions above if further

investigation and/or discovery reveals that the Class should be expanded, narrowed, divided

into subclasses, or otherwise modified in any way.

 78.       This action may be certified as a class action under Federal Rule of Civil

Procedure 23 because it satisfies the numerosity, commonality, typicality, adequacy, and

superiority requirements therein.

 79.       Numerosity (Rule 23(a)(1)): The Class is so numerous that joinder of all Class

members is impracticable. Although the precise number of such persons is unknown, and the

facts are presently within the sole knowledge of Defendants, Plaintiffs estimates that the

Class is comprised of millions of Class members. The Class is sufficiently numerous to

warrant certification.

 80.       Typicality of Claims (Rule 23(a)(3)): Plaintiffs’ claims are typical of those of

other Class members because they all had their PII compromised as a result of the Data

Breach. Plaintiffs are members of the Class and her claims are typical of the claims of the

members of the Class. The harm suffered by Plaintiffs are similar to that suffered by all other

Class members that was caused by the same misconduct by Defendants.

 81.       Adequacy of Representation (Rule 23(a)(4)): Plaintiffs will fairly and adequately

represent and protect the interests of the Class. Plaintiffs have no interest antagonistic to, nor

in conflict with, the Class. Plaintiffs have retained competent counsel who are experienced in

consumer and commercial class action litigation, including data breach class actions, and

who will prosecute this action vigorously.



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 82.        Superiority (Rule 23(b)(3)): A class action is superior to other available methods

for the fair and efficient adjudication of this controversy. Because the monetary damages

suffered by individual Class members is relatively small, the expense and burden of

individual litigation make it impossible for individual Class members to seek redress for the

wrongful conduct asserted herein. If Class treatment of these claims is not available,

Defendants will likely continue their wrongful conduct, will unjustly retain improperly

obtained revenues, or will otherwise escape liability for their wrongdoing as asserted herein.

 83.        Predominant Common Questions (Rule 23(a)(2)): The claims of all Class

members present common questions of law or fact, which predominate over any questions

affecting only individual Class members, including:

           a. Whether Defendants failed to implement and maintain reasonable security
              procedures and practices appropriate to the nature and scope of the information
              compromised in the Data Breach;
           b. Whether Defendants’ data security systems prior to and during the Data Breach
              complied with applicable data security laws and regulations;
           c. Whether Defendants’ storage of Class Member’s PII was done in a negligent
              manner;
           d. Whether Defendants had a duty to protect and safeguard Plaintiffs’ and Class
              members’ PII;
           e. Whether Defendants’ conduct was negligent;
           f. Whether Defendants’ conduct violated Plaintiffs’ and Class members’ privacy;
           g. Whether Defendants took sufficient steps to secure their customers’ PII;
           h. Whether Defendants were unjustly enriched;
           i. The nature of relief, including damages and equitable relief, to which Plaintiffs
              and members of the Class are entitled.
 84.        Information concerning Defendants’ policies is available from Defendants’

records.


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  85.       Plaintiffs know of no difficulty which will be encountered in the management of

this litigation which would preclude its maintenance as a class action.

  86.       The prosecution of separate actions by individual members of the Class would run

the risk of inconsistent or varying adjudications and establish incompatible standards of

conduct for Defendants. Prosecution as a class action will eliminate the possibility of

repetitious and inefficient litigation.

  87.       Defendants have acted or refused to act on grounds generally applicable to the

Class, thereby making appropriate final injunctive relief and/or corresponding declaratory

relief with respect to the Class as a whole.

  88.       Given that Defendants have not indicated any changes to their conduct or security

measures, monetary damages are insufficient and there is no complete and adequate remedy

at law.




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                                  CAUSES OF ACTION
                                      COUNT I
                                    NEGLIGENCE

 89.       Plaintiffs repeat and re-allege each and every factual allegation contained in all

previous paragraphs as if fully set forth herein.

 90.       Plaintiffs bring this claim individually and on behalf of the Class members.

 91.       Defendants knowingly collected, came into possession of, and maintained

Plaintiffs’ and Class members’ PII, and had a duty to exercise reasonable care in

safeguarding, securing, and protecting such information from being compromised, lost,

stolen, misused, and/or disclosed to unauthorized parties.

 92.       Defendants had a duty to have procedures in place to detect and prevent the loss

or unauthorized dissemination of Plaintiffs’ and Class members’ PII.

 93.       Defendants had, and continue to have, a duty to timely disclose that Plaintiffs’

and Class members’ PII within their possession was compromised and precisely the type(s)

of information that were compromised.

 94.       Defendants owed a duty of care to Plaintiffs and Class members to provide data

security consistent with industry standards, applicable standards of care from statutory

authority like Section 5 of the FTC Act, and other requirements discussed herein, and to

ensure that their systems and networks, and the personnel responsible for them, adequately

protected their customers’ PII.

 95.       Defendants’ duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendants and their customers. Defendants

were in a position to ensure that their systems were sufficient to protect against the

foreseeable risk of harm to Class members from a data breach.



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 96.       Defendants’ duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendants

are bound by industry standards to protect confidential PII.

 97.       Defendants breached these duties by failing to exercise reasonable care in

safeguarding and protecting Plaintiffs’ and Class members’ PII.

 98.       The specific negligent acts and omissions committed by Defendants include, but

are not limited to, the following:

 a. Failing to adopt, implement, and maintain adequate security measures to safeguard Class

members’ PII;

 b.        Failing to adequately monitor the security of their networks and systems;

 c. Failing to adequately and timely notify impacted consumers of the Data Breach; and

 e. Failing to periodically ensure that their computer systems and networks had plans in

place to maintain reasonable data security safeguards.

 99.       Defendants, through their actions and/or omissions, unlawfully breached their

duties to Plaintiffs and Class members by failing to exercise reasonable care in protecting and

safeguarding Plaintiffs’ and Class members’ PII within Defendant’s possession.

 100.      Defendants, through their actions and/or omissions, unlawfully breached their

duty to Plaintiffs and Class members by failing to have appropriate procedures in place to

detect and prevent dissemination of Plaintiffs’ and Class members’ PII.

 101.      Defendants, through their actions and/or omissions, unlawfully breached their

duty to timely disclose to Plaintiffs and Class members that the PII within Defendant’s

possession might have been compromised and precisely the type of information

compromised.



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 102.      It was foreseeable that Defendants’ failure to use reasonable measures to protect

Plaintiffs’ and Class members’ PII would result in injury to Plaintiffs and Class members.

Further, the breach of security was reasonably foreseeable given the known high frequency

of cyberattacks and data breaches.

 103.      It was foreseeable that the failure to adequately safeguard Plaintiffs’ and Class

members’ PII would result in injuries to Plaintiffs and Class members.

 104.      Defendants’ breaches of duties owed to Plaintiffs and Class members caused

Plaintiffs’ and Class members’ PII to be compromised.

 105.      But for Defendants’ negligent conduct and breach of the above-described duties

owed to Plaintiffs and Class members, their PII would not have been compromised.

 106.      As a result of Defendants’ failure to timely notify Plaintiffs and Class members

that their PII had been compromised, Plaintiffs and Class members were unable to take the

necessary precautions to mitigate damages by preventing future fraud.

 107.      As a result of Defendants’ negligence and breach of duties, Plaintiffs and Class

members are in danger of imminent harm in that their PII, which is still in the possession of

third parties, will be used for fraudulent purposes, and Plaintiffs and Class members have and

will suffer damages including: a substantial increase in the likelihood of identity theft; the

compromise, publication, and theft of their personal information; loss of time and costs

associated with the prevention, detection, and recovery from unauthorized use of their

personal information; the continued risk to their personal information; future costs in terms

of time, effort, and money that will be required to prevent, detect, and repair the impact of

the personal information compromised as a result of the Data Breach; and overpayment for

the services or products that were received without adequate data security.



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                                         COUNT II
                                      Negligence Per Se

 108.      Plaintiffs re-allege and incorporate by reference herein all the allegations

contained above.

 109.      Section 5 of the FTC Act, 15 U.S.C. 45, prohibits “unfair . . . practices in or

affecting commerce” including, as interpreted and enforced by the FTC, the unfair act or

practice by Defendants of failing to use reasonable measures to protect Plaintiffs’ and Class

members’ PII. Various FTC publications and orders also form the basis of Defendants’ duty.

 110.      Defendants violated Section 5 of the FTC Act (and similar state statutes) by

failing to use reasonable measures to protect Plaintiffs’ and Class members’ PII and not

complying with industry standards.

 111.      Defendants’ conduct was particularly unreasonable given the nature and amount

of PII obtained and stored and the foreseeable consequences of a data breach.

 112.      Defendants’ violation of Section 5 of the FTC Act (and similar state statutes)

constitutes negligence per se.

 113.      Class members are consumers within the class of persons Section 5 of the FTC

Act (and similar state statutes) were intended to protect.

 114.      Moreover, the harm that has occurred is the type of harm the FTC Act (and

similar state statutes) was intended to guard against. Indeed, the FTC has pursued over fifty

enforcement actions against businesses which, as a result of their failure to employ

reasonable data security measures and avoid unfair and deceptive practices, caused the same

harm suffered by Plaintiffs and Class members.
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 115.        As a result of Defendants’ negligence, Plaintiffs and the other Class members

have been harmed and have suffered damages including, but not limited to: damages arising

from identity theft and fraud; out-of-pocket expenses associated with procuring identity

protection and restoration services; increased risk of future identity theft and fraud, and the

costs associated therewith; and time spent monitoring, addressing and correcting the current

and future consequences of the Data Breach.

                                     COUNT III
                            BREACH OF IMPLIED CONTRACT

 116.        Plaintiffs repeat and re-allege each and every factual allegation contained in all

previous paragraphs as if fully set forth herein.

 117.        Plaintiffs and the Class provided and entrusted their PII to Defendants. Plaintiffs

and the Class provided their PII to Defendants as part of Defendants’ regular business

practices.

 118.        Defendants should have been aware that they had a minimum duty to alert

Plaintiffs and Class embers that their data was compromised “without unreasonable delay.”

 119.        Thus, when Defendants took Plaintiffs’ and Class members’ PII, it entered into

implied contracts with Plaintiffs and Class members by which Defendants agreed to

safeguard and protect such information and to keep such information secure and confidential.

Implied in these exchanges was a promise by Defendants to ensure that the PII of Plaintiffs

and Class members in its possession was secure.

 120.        Pursuant to these implied contracts, Plaintiffs and Class members provided

Defendants with their PII in order for Defendants to provide their services, for which

Defendants are compensated. In exchange, Plaintiffs understood, and Defendants agreed,

among other things, that Defendants would: (1) provide services to Plaintiffs and Class
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members; (2) take reasonable measures to protect the security and confidentiality of

Plaintiffs’ and Class members’ PII; (3) protect Plaintiffs’ and Class members PII in

compliance with federal and state laws and regulations and industry standards; and (4) notify

Plaintiffs and Class members in compliance with state laws and regulations.

 121.        Implied in these exchanges was a promise by Defendants to take adequate

measures to protect Plaintiffs’ and Class members’ PII, and notify Plaintiffs and Class

members where data safeguards failed.

 122.        A material term of this contract is a covenant by Defendants that they would take

reasonable efforts to adequately secure that information. Defendants breached this covenant

by allowing Plaintiffs’ and Class members’ PII to be accessed in the Data Breach.

 123.        Indeed, implicit in the agreement between Defendants and their customers was the

obligation that both parties would maintain information securely and respond accordingly if

that information was compromised.

 124.        These exchanges constituted an agreement and meeting of the minds between the

parties: Plaintiffs and Class members would provide their PII in exchange for services by

Defendants. These agreements were made by Plaintiffs and Class members as Defendants’

customers.

 125.        When the parties entered into an agreement, mutual assent occurred. Plaintiffs and

Class members would not have disclosed their PII to Defendants but for the prospect of

utilizing Defendants’ services. Conversely, Defendants presumably would not have obtained

Plaintiffs’ and Class members’ PII if they did not intend to provide Plaintiffs and Class

members with their services.
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 126.      Defendants were therefore required to reasonably safeguard and protect the PII of

Plaintiffs and Class members from unauthorized disclosure and/or use and, as promptly as

reasonable, notify Plaintiffs and Class members when it failed in that duty.

 127.      Plaintiffs and Class members accepted Defendants’ offer of services and fully

performed their obligations under the implied contract with Defendants by providing their

PII, directly or indirectly, to Defendants, among other obligations.

 128.      Plaintiffs and Class members would not have entrusted their PII to Defendants in

the absence of their implied contracts with Defendants and would have instead retained the

opportunity to control their PII.

 129.      Defendants breached the implied contracts with Plaintiffs and Class members by

failing to reasonably safeguard and protect Plaintiffs’ and Class members’ PII.

 130.      Defendants’ failure to implement adequate measures to protect the PII of

Plaintiffs and Class members violated the purpose of the agreement between the parties.

 131.      Defendants further failed to adequately and promptly notify Plaintiffs and Class

members that their PII had been compromised.

 132.      Instead of spending adequate financial resources to safeguard Plaintiffs’ and Class

members’ PII, which Plaintiffs and Class members were required to provide to Defendants,

Defendants instead used that money for other purposes, thereby breaching their implied

contracts with Plaintiffs and Class members.

 133.      As a proximate and direct result of Defendants’ breaches of their implied

contracts with Plaintiffs and Class members, Plaintiffs and the Class members suffered

damages as described in detail above.
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                                   COUNT IV
                        BREACH OF IMPLIED COVENANT OF
                         GOOD FAITH AND FAIR DEALING

 134.      Plaintiffs reallege and reincorporate every allegation set forth in the preceding

paragraphs as though fully set forth herein.

 135.      Every contract has an implied covenant of good faith and fair dealing between the

parties to it, which is an independent duty requiring every party in a contract to implement

the agreement as intended, without using means to undercut the purpose of the transaction.

This duty may be breached even when there is no breach of a contract’s actual and/or express

terms.

 136.      Plaintiffs and Class Members have complied with and performed all conditions of

their contracts with Defendants.

 137.      Defendants breached the implied covenant of good faith and fair dealing by

failing to maintain adequate computer systems and data security practices to safeguard

Plaintiffs’ and Class Members’ PII and failing to timely and accurately disclose the Data

Breach to Plaintiffs and Class Members.

 138.      Defendants acted in bad faith in denying Plaintiffs and Class Members the full

benefit of their bargains as originally intended by the parties, thereby causing them

compensable injury in an amount to be determined at trial.

                                    COUNT V
                            BREACH OF FIDUCIARY DUTY

 139.      Plaintiffs reallege and reincorporate all previous paragraphs as if fully set forth

below.

 140.      As a condition of obtaining services from Defendants, Plaintiffs and Class

Members gave Defendants their PII in confidence, believing that Defendants would protect
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that information. Plaintiffs and Class members would not have provided Defendants with this

information had they known it would not be adequately protected. Defendants’ acceptance

and storage of Plaintiffs’ and Class members’ PII created a fiduciary relationship between

Defendants and Plaintiffs and Class Members. In light of this relationship, Defendants were

and are required to act primarily for the benefit of their customers, which includes

safeguarding and protecting Plaintiffs’ and Class members’ PII.

 141.      Defendants had and continue to have a fiduciary duty to act for the benefit of

Plaintiffs and Class Members upon matters within the scope of their relationship. Defendants

breached that duty by failing to properly protect the integrity of the systems containing

Plaintiffs’ and Class members’ PII, failing to comply with minimum data security practices,

and otherwise failing to safeguard Plaintiffs’ and Class members’ PII that they collected.

 142.      As a direct and proximate result of Defendants’ breach of their fiduciary duties,

Plaintiffs and Class members have suffered and will suffer injury, including, but not limited

to: (i) a substantially increased and imminent risk of identity theft; (ii) the compromise,

publication, and theft of their PII; (iii) out-of-pocket expenses associated with the prevention,

detection, and recovery from unauthorized use of their PII; (iv) lost opportunity costs

associated with efforts attempting to mitigate the actual and future consequences of the Data

Breach; (v) the continued risk to their PII which remains in Defendants’ possession; (vi)

future costs in terms of time, effort, and money that will be required to prevent, detect, and

repair the impact of the PII compromised as a result of the Data Breach; and/or (vii)

overpayment for the services that were received without adequate data security.

                                       COUNT VI
                                  UNJUST ENRICHMENT

 143.      Plaintiffs incorporate the above allegations as if fully set forth herein.
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  144.       This claim is pleaded in the alternative to the breach of implied contractual duty

claim.

  145.       Plaintiffs conferred a benefit upon Defendants by using Defendants’ services.

  146.       Defendants appreciated or had knowledge of the benefits conferred upon

themselves by Plaintiffs and Class members. Defendants also benefited from the receipt of

Plaintiffs’ PII as this was used for Defendants to administer their services to Plaintiffs and

the Class.

  147.       Under principles of equity and good conscience, Defendants should not be

permitted to retain the full value of Plaintiffs’ services because Defendants failed to

adequately protect their PII. Plaintiffs and the proposed Class would not have provided their

PII to Defendants or utilized their services had they known Defendants would not adequately

protect their PII.

  148.       Defendants should be compelled to disgorge into a common fund for the benefit

of the Class all unlawful or inequitable proceeds received by them because of their

misconduct and Data Breach.

                                      COUNT VII
                                DECLARATORY JUDGMENT

  149.       Plaintiffs reallege and reincorporate every allegation set forth in the preceding

paragraphs as though fully set forth herein.

  150.       Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and grant

further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as

here, that are tortious and violate the terms of the federal and state statutes described in this

Complaint.
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 151.      An actual controversy has arisen in the wake of the Data Breach regarding

Plaintiffs’ and Class Members’ PII and whether Defendants are currently maintaining data

security measures adequate to protect Plaintiffs and Class Members from further data

breaches that compromise their PII. Plaintiffs allege that Defendants’ data security measures

remain inadequate. Furthermore, Plaintiffs continue to suffer injury due to the compromise of

their PII and remain at imminent risk that further compromises of their PII will occur in the

future.

 152.      Pursuant to its authority under the Declaratory Judgment Act, this Court should

enter a judgment declaring, among other things, the following:

          a. Defendants owe a legal duty to secure consumers’ PII and to timely notify
             consumers of a data breach under the common law and Section 5 of the FTC
             Act;
          b. Defendants have breached their duty to Plaintiffs and the Class by allowing the
             Data Breach to occur;
          c. Defendants continue to breach this legal duty by failing to employ reasonable
             measures to secure consumers’ PII. This Court also should issue corresponding
             prospective injunctive relief requiring Defendants to employ adequate security
             protocols consistent with law and industry standards to protect consumers’ PII;
             and
          d. Defendants’ ongoing breaches of said duty continue to cause harm to Plaintiffs
             and the Class.

 153.      If an injunction is not issued, Plaintiffs and Class Members will suffer irreparable

injury and lack an adequate legal remedy in the event of another data breach with

Defendants. The risk of another such breach is real, immediate, and substantial. If

Defendants allow another data breach, Plaintiffs and Class Members will not have an
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adequate remedy at law because many of the resulting injuries are not readily quantified, and

they will be forced to bring multiple lawsuits to rectify the same conduct.

 154.      Plaintiffs and the Class, therefore, seek a declaration that (1) each of Defendants’

existing security measures do not comply with their obligations and duties of care to provide

reasonable security procedures and practices appropriate to the nature of the information to

protect consumers’ PII, and (2) to comply with their duties of care, Defendants must

implement and maintain reasonable security measures, including, but not limited to:

         a. Engaging third-party security auditors/penetration testers as well as internal
             security personnel to conduct testing, including simulated attacks, penetration
             tests, and audits on Defendants’ systems on a periodic basis, and ordering
             Defendants to promptly correct any problems or issues detected by such third-
             party security auditors;
         b. Engaging third-party security auditors and internal personnel to run automated
             security monitoring;
         c. Auditing, testing, and training their security personnel regarding any new or
             modified procedures;
         d. Segmenting user applications by, among other things, creating firewalls and
             access controls so that if one area is compromised, hackers cannot gain access
             to other portions of Defendants’ systems;
         e. Conducting regular database scanning and security checks;
         f. Routinely and continually conducting internal training and education to inform
             internal security personnel how to identify and contain a breach when it occurs
             and what to do in response to a breach;
         g. Purchasing credit monitoring services for Plaintiffs and Class Members for their
             respective lifetimes; and
         h. Meaningfully educating Plaintiffs and Class Members about the threats they
             face as a result of the loss of their PII to third parties, as well as the steps they
             must take to protect themselves.
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     155.     The Court should issue corresponding prospective injunctive relief requiring

   Defendants to employ adequate security protocols consistent with the law and industry

   standards to protect Plaintiffs and Class Members’ PII.

     156.     The hardship to Plaintiffs and Class Members if an injunction were not issued

   exceeds the hardship to Defendants if an injunction were issued. Plaintiffs and Class

   Members will likely be subjected to substantial identity theft and other damage. On the other

   hand, the cost to Defendants of complying with an injunction by employing reasonable

   prospective data security measures is relatively minimal, and Defendants have a pre-existing

   legal obligation to employ such measures.

     157.     Issuance of the requested injunction would not disserve the public interest. On the

   contrary, such an injunction would benefit the public by preventing another data breach of

   Defendants’ systems, thus eliminating the additional injuries that would result to Plaintiffs

   and Class Members whose PII would be further compromised.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

seek judgment against Defendants, as follows:

            (a) For an order determining that this action is properly brought as a class action

                and certifying Plaintiffs as the representatives of the Class and their counsel as

                Class Counsel;

            (b) For an order declaring the Defendants’ conduct violates the laws referenced

                herein;

            (c) For an order finding in favor of Plaintiffs and the Class on all counts asserted

                herein;
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   (d) For damages in amounts to be determined by the Court and/or jury;

   (e) An award of statutory damages or penalties to the extent available;

   (f) For pre-judgment interest on all amounts awarded;

   (g) For an order of restitution and all other forms of monetary relief;

   (h) For declaratory and/or injunctive relief, as set forth herein; and

   (i) Such other and further relief as the Court deems necessary and appropriate.
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                        DEMAND FOR TRIAL BY JURY

Plaintiffs demands a trial by jury of all issues so triable.

Dated: September 18, 2023                       SHAPIRO HABER & URMY LLP

                                                /s/ Edward F. Haber
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                                                Fax: (415) 788-0161
                                                rschubert@sjk.law
                                                aschubert@sjk.law


                                                Counsel for Plaintiffs and the Putative Class
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                       Exhibit A
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JS 44 (Rev. 10/20)                  Case
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                             DEFENDANTS PROGRESS SOFTWARE CORPORATION and
      MEGAN SCHWARZ, CAMILLE BURGAN, AND EUGENE
                                                                                                                                     PENSION BENEFIT INFORMATION, LLC d/b/a
      BURGAN, individually and on behalf of all others similarly
                                                                                                                                     PBI RESEARCH SERVICES
      situated
   (b) County of Residence of First Listed Plaintiff                New York                                  County of Residence of First Listed Defendant Middlesex County, MA
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
       Edward F. Haber (BBO #215620)
       Shapiro Haber & Urmy LLP
       One Boston Place, Suite 2600, Boston, MA 02108
       (617) 439-3939

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                           (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                     3   Federal Question                                                                     PTF        DEF                                         PTF      DEF
         Plaintiff                               (U.S. Government Not a Party)                       Citizen of This State            1          1      Incorporated or Principal Place         4   X4
                                                                                                                                                          of Business In This State

  2    U.S. Government                  X 4 Diversity                                                Citizen of Another State          X 2          2   Incorporated and Principal Place           5         5
         Defendant                                (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                     Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                        Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                                  TORTS                              FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                          PERSONAL INJURY               PERSONAL INJURY                  625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                             310 Airplane                 365 Personal Injury -                 of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                         315 Airplane Product             Product Liability             690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                   Liability               367 Health Care/                                                                                         400 State Reapportionment
  150 Recovery of Overpayment            320 Assault, Libel &             Pharmaceutical                                                     PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment               Slander                     Personal Injury                                                     820 Copyrights                   430 Banks and Banking
  151 Medicare Act                       330 Federal Employers’           Product Liability                                                   830 Patent                       450 Commerce
  152 Recovery of Defaulted                   Liability               368 Asbestos Personal                                                   835 Patent - Abbreviated         460 Deportation
       Student Loans                     340 Marine                       Injury Product                                                          New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)               345 Marine Product               Liability                                                           840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment                 Liability              PERSONAL PROPERTY                           LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits              350 Motor Vehicle            370 Other Fraud                   710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits                355 Motor Vehicle            371 Truth in Lending                  Act                                                                485 Telephone Consumer
  190 Other Contract                         Product Liability      X 380 Other Personal                720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability         360 Other Personal               Property Damage                   Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                              Injury                   385 Property Damage               740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                         362 Personal Injury -            Product Liability             751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                             Medical Malpractice                                            Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                        CIVIL RIGHTS              PRISONER PETITIONS                 790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation                  440 Other Civil Rights       Habeas Corpus:                    791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                        441 Voting                   463 Alien Detainee                    Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment             442 Employment               510 Motions to Vacate                                                  870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                      443 Housing/                     Sentence                                                                or Defendant)                896 Arbitration
  245 Tort Product Liability                 Accommodations           530 General                                                            871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property            445 Amer. w/Disabilities -   535 Death Penalty                     IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                             Employment               Other:                            462 Naturalization Application                                             Agency Decision
                                         446 Amer. w/Disabilities -   540 Mandamus & Other              465 Other Immigration                                                  950 Constitutionality of
                                             Other                    550 Civil Rights                      Actions                                                                State Statutes
                                         448 Education                555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
X 1 Original                 2 Removed from                     3    Remanded from                 4 Reinstated or             5 Transferred from     6 Multidistrict                      8 Multidistrict
    Proceeding                 State Court                           Appellate Court                 Reopened                    Another District         Litigation -                       Litigation -
                                                                                                                                 (specify)                Transfer                           Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                                28 U.S.C. § 1332(d)(2), 28 U.S.C. § 1332(d)(2)(A)
VI. CAUSE OF ACTION Brief description of cause:
                                                                        Data breach / failure to properly secure and safeguard personally identifiable information.
VII. REQUESTED IN     X CHECK IF THIS IS A CLASS ACTION       DEMAND $                                                                              CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                   JURY DEMAND:                 X Yes            No
VIII. RELATED CASE(S)                                                                                                                                                      23-11370; 23-11412; 23-11442;
                       (See instructions):
      IF ANY                               JUDGE  Nathaniel M. Gorton                                                                        DOCKET NUMBER
                                                                                                                                                                           23-11782; 23-11864; 23-11939
                                                                                                                                                                           23-11984; 23-12010

DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
         9/18/2023                                                      /s/ Edward F. Haber
FOR OFFICE USE ONLY

  RECEIPT #                       AMOUNT                                       APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                                                   UNITED STATES DISTRICT COURT
                                                    DISTRICT OF MASSACHUSETTS


1. Title of case (name of first party on each side only) Megan Schwarz, Camille Burgan, and Eugene Burgan v.
    Progress Software Corporation and Pension Benefit Information, LLC d/b/a PBI Research Services

2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local
   rule 40.1(a)(1)).

             I.          160, 400, 410, 441, 535, 830*, 835*, 850, 880, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.

             II.         110, 130, 190, 196, 370, 375, 376, 440, 442, 443, 445, 446, 448, 470, 751, 820*, 840*, 895, 896, 899.


    ✔        III.        120, 140, 150, 151, 152, 153, 195, 210, 220, 230, 240, 245, 290, 310, 315, 320, 330, 340, 345, 350, 355, 360, 362,
                         365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 485, 490, 510, 530, 540, 550, 555, 560,
                         625, 690, 710, 720, 740, 790, 791, 861-865, 870, 871, 890, 950.
                         *Also complete AO 120 or AO 121. for patent, trademark or copyright cases.


3. Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
   district please indicate the title and number of the first filed case in this court.

                       Diggs v. Progress Software Corporation, Case No. 1:23-cv-11370-NMG
4. Has a prior action between the same parties and based on the same claim ever been filed in this court?

                                                                                     YES    9            NO     9✔
5. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest?           (See 28 USC
   §2403)

                                                                                     YES      9          NO      ✔
                                                                                                                 9
   If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

                                                                                     YES      9          NO      9
6. Is this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §2284?

                                                                                     YES     9           NO      9
                                                                                                                 ✔
7. Do all of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
   Massachusetts (“governmental agencies”), residing in Massachusetts reside in the same division? - (See Local Rule 40.1(d)).

                                                                                     YES     9           NO      9✔
             A.          If yes, in which division do all of the non-governmental parties reside?

                         Eastern Division     9                  Central Division    9                   Western Division        9
             B.          If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,
                         residing in Massachusetts reside?


                         Eastern Division     9✔                 Central Division    9                   Western Division        9
8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,
   submit a separate sheet identifying the motions)

                                                                                     YES     9           NO      9
(PLEASE TYPE OR PRINT)
ATTORNEY'S NAME Edward F. Haber (BBO #215620)
ADDRESS One Boston Place, Suite 2600, Boston, MA 02108
TELEPHONE NO. (617) 439-3939
                                                                                                                 (CategoryForm11-2020.wpd )
